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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS

CHRIS RISTICK,
and all others similarly situated,

        Plaintiffs,
v.                                              C.A. No.: 1:18-cv-06805
                                            COLLECTIVE ACTION
COMPREHENSIVE QUALITY
CARE, INC. FOUNDATION, ET AL.,

      Defendants.
__________________________________/

                                     STIPULATED JUDGMENT

        Pursuant to the Stipulated Motion for Entry of Consent Judgment and Dismissal with

Prejudice, IT IS HEREBY ADJUDGED AND ORDERED that:

     (1) JUDGMENT is entered against Defendant, JOHN MARSHALL TAR, as an individual,

         on Plaintiff’s claims unpaid minimum wages and attorney’s fees and costs pursuant to 29

         U.S.C. § 216(b).

     (2) Plaintiff, CHRIS RISTICK, shall recover from Defendant, JOHN MARSHALL TAR, as

         an individual, the amount of $10,000.00. This amount includes all claims for attorney’s

         fees and costs.

     (3) This Judgment shall apply to and be binding upon the Parties and the successors and

         assignees of the Parties.

     (4) Let execution issue forthwith.
